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                                                                          UNITED STATES DISTRICT COURT
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                                                                        NORTHERN DISTRICT OF CALIFORNIA
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                                   6       IN RE: LITHIUM ION BATTERIES                   Case No.: 13-MD-2420 YGR
                                           ANTITRUST LITIGATION
                                   7                                                      ORDER RE: OBJECTION
                                   8                                                      Re: Dkt. No. 1000
                                           This Order Relates to:
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                                           All Indirect Purchaser Actions
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                                  11
Northern District of California




                                  12           Defendants have filed an objection to Magistrate Judge Ryu’s December 9, 2015 Report and
 United States District Court




                                  13   Recommendation. (Dkt. No. 1000.) The Court will consider the objection after evaluating the
                                  14   Indirect Purchaser Plaintiffs’ related motion for leave to amend and, if necessary, will order
                                  15   additional briefing at a later date.
                                  16           IT IS SO ORDERED.
                                  17   Dated: December 29, 2015                         _______________________________________
                                                                                                YVONNE GONZALEZ ROGERS
                                  18                                                       UNITED STATES DISTRICT COURT JUDGE
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